        Case:17-11810-MER Doc#:58 Filed:10/28/17                              Entered:10/28/17 22:30:25 Page1 of 2
                                               United States Bankruptcy Court
                                                   District of Colorado
In re:                                                                                                     Case No. 17-11810-MER
Judith Jean Schneider                                                                                      Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 1082-1                  User: cosior                       Page 1 of 1                          Date Rcvd: Oct 26, 2017
                                      Form ID: 249                       Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 28, 2017.
db             +Judith Jean Schneider,   4316 East 113th Place,   Thornton, CO 80233-2609

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 28, 2017                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 26, 2017 at the address(es) listed below:
              Adam M Goodman    mail@ch13colorado.com, agoodman13@ecf.epiqsystems.com
              Chapter 13 Trustee - Zeman    on behalf of Trustee Sally Zeman mail@ch13colorado.com
              Michael J. Watton    on behalf of Debtor Judith Jean Schneider wlgdnvr@wattongroup.com
              Thomas A. Arany    on behalf of Debtor Judith Jean Schneider jdrewicz@wattongroup.com
              US Trustee   USTPRegion19.DV.ECF@usdoj.gov
                                                                                             TOTAL: 5
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  (COB #249voAllowFee)(03/11)




                      IN THE UNITED STATES BANKRUPTCY COURT
                                            District of Colorado,
                                         HONORABLE Michael E. Romero

  In re:
                 Judith Jean Schneider

  Debtor(s)
                                                        Case No.:      17−11810−MER
                                                        Chapter:       13
  SSN/TID
  Nos.    xxx−xx−0318


                                ORDER ALLOWING AND APPROVING FEES

      WATTON LAW GROUP, counsel for the debtor(s), is allowed a fee for services herein of $ 4100.00
  and reimbursement of out−of−pocket expenses of $ 0.00. Counsel received $ 20.00 prepetition. The
  remaining balance, $ 4080.00, is payable out of plan payments.



  Dated: 10/26/17                                     BY THE COURT:
                                                      s/ Michael E. Romero
                                                      Chief United States Bankruptcy Judge
